Case: 1:03-cr-00486-JRA Doc #: 562 Filed: 09/19/08 1 of 2. PageID #: 1974




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                         )    CASE NO. 1:03CR486
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               )    Judge Peter C. Economus
                                                  )
ANDRE COLLIER,                                    )
                                                  )
       Defendant.                                 )    ORDER



       On October 19, 2004, the Defendant was sentenced to twenty-four (24) months

imprisonment, followed by three years of supervised release, for Conspiracy to Possess with

Intent to Distribute and Distribution Cocaine Base in violation of U.S.C. § 841(a)(1), (b)(1)(b),

& 846. Defendant's supervised release commenced on May 26, 2006.

       On November 30, 2007, Defendant’s probation officer submitted a violation report

alleging a violation of supervised release for committing a new law violation. Specifically, on

October 23, 2007, the Defendant was arrested by the Cleveland Police Department for Drug

Possession, Trafficking in Drugs and Possessing Criminal Tools. In addition, the Defendant

failed to inform the probation officer of his arrest, failed to complete sixty (6) hours of

community service, and failed to report a change in his residence. On or about September 11,

2008, the probation officer supplemented the initial report, indicating that on February 5, 2008,

the Defendant was sentenced on Drug Trafficking charges by the Cuyahoga County Court of

Common Pleas. The Defendant completed his sentence on August 20. 2008.

       On August 27, 2008, the Defendant appeared before a Magistrate Judge. The Magistrate
Case: 1:03-cr-00486-JRA Doc #: 562 Filed: 09/19/08 2 of 2. PageID #: 1975




Judge concluded that the defendant knowingly, voluntarily, and intelligently admitted the

violations of supervised release, and the Magistrate Judge issued a Report and Recommendation

recommending that this Court adopt that finding. No objections were filed to the report.

       On September 19, 2008, the Court held a hearing regarding the alleged violation. The

Defendant was represented by counsel. The Court finds that the Defendant has violated the

terms of his supervised release.

       The Court has considered the statutory maximum sentence of two years pursuant to 18

U.S.C. § 3583(e)(3). The Court also has considered the advisory policy statements set forth in

Chapter Seven of the United States Sentencing Guidelines prior to imposing sentence, and the

advisory guideline range is 15-21 months pursuant to U.S.S.G. § 7B1.4(a). The Court further

has considered the factors for sentencing listed in 18 U.S.C. § 3553(a) and 3583(d).

       Based on this Court's review of all relevant factors, the Court hereby orders that

Defendant's supervised release is REVOKED, and Defendant is committed to the custody of the

Bureau of Prisons for twenty-one (21) months. No term of supervised release shall follow.

       IT IS SO ORDERED.


Issued: September 19, 2008                       s/ Peter C. Economus
                                             UNITED STATES DISTRICT JUDGE




                                               -2-
